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FILE
IN THE UNITED STATES DISTRlCT COURT DBV~~~____.` DC
FOR THE WESTERN DISTRICT OF TENNESSEE 05 HAY _9 FH
EASTERN DIVISION ?" 26
c /:,sr,q
§§ §§ vs D§§OH;§
Wool) M. DEMING, M.D. and ) TNJ/t MCKS@N
REGIONAL cARDIoLoGY )
coNsULTANTs, P.c., )
)
Plaintiffs, )
)
vs. ) No. 05-1032-T/An
)
JAcKsoN-MADISON CoUNTY )
GENERAL HosPIrAL DISTRICT, )
ET AL., )
)
Defendants. )

 

ORDER DENYING DEFENDANTS’ MOTION TO STRIKE

 

On April 22, 2005, the defendants flled a motion to strike certain portions of the
plaintiffs’ complaint, pursuant to Fed. R. Civ. P. 12(1`), Which providcs:

Upon motion made by a party . . . or upon the court’s own initiative . . . , the

court may order stricken from any pleading any insufficient defense or any

redundant, immaterial, impertinent, or scandalous matter.

The purpose of a motion to strike under Rule 12(f) is to avoid expending the
resources of the parties and the Court on litigating spurious issues. Kennedy v. Cig of
Cleveland, 797 F.2d 297, 305 (6th Cir. 1986). However, it is “a drastic remedy to be resorted
to only when required for the purposes of justice.” Brown & Williamson Tobacco Co;p. v.
United States, 201 F.2d 819, 822 (6"‘ Cir. 195 3). This is “[p]artly because of the practical

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difficulty of deciding cases without a factual record.” I_d. Therefore, such motions are
disfavored and should be granted only “when the pleading to be stricken has no possible
relation to the controversy.” l_cL; §§_e_M 5C Charles Alan Wright & Arthur R. Miller,
Federal Practice & Procedurc § 1382.

The defendants list thirty-two paragraphs, or portions thereof, which they contend
“consist mainly of puffing and bragging by plaintif .” (Mot. to Strike at 2.) Defendants then
state, “[t]hese allegations have no relevance to the issues in this matter and therefore should
be stricken.” I_d. That is the sole “analysis” by the defendants There is no citation of
authority or explanation of precisely why the allegations in the specified paragraphs are
irrelevant to the issues in this case.

While the complaint is extremely detailed, perhaps overly so, without a factual record
the Court cannot say that the portions challenged by the defendants have no possible relation
to the controversy in this case. Accordingly, the motion to strike is DENIED.

lT IS SO ORDERED.

/A.M

JA S D. TODD
ED STATES DISTRICT JUDGE

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DATE '

 

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Honorable J ames Todd
US DISTRICT COURT

